               Case 2:07-cr-00107-JCC Document 32 Filed 01/11/21 Page 1 of 3




                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9          UNITED STATES OF AMERICA,                        CASE NO. CR07-0107-JCC
10                             Plaintiff,                    ORDER
11                     v.

12          MARTIN A. JOHN,

13                             Defendant.
14

15          This matter comes before the Court on Defendant Martin John’s motion for early
16   termination of supervised release (Dkt. No. 29). Having thoroughly considered the parties’
17   briefing and the relevant record, the Court finds oral argument unnecessary and hereby DENIES
18   the motion for the reasons explained herein.
19   I.     BACKGROUND
20          Defendant pled guilty to two counts of sexual abuse of a minor. (Dkt. Nos. 18, 26.) In
21   August 2007, the Court sentenced Defendant to 57 months of incarceration, followed by a
22   lifetime term of supervised release. (Dkt. Nos. 24, 25.) Defendant began his term of supervised
23   release in December 2010. (Dkt. No. 29 at 2.) He violated the conditions of his supervised
24   release twice: once in 2011 and once in 2014. (Dkt. Nos. 27, 28.) Both violations resulted in the
25   Court modifying the conditions of Defendant’s supervision. (Dkt. Nos. 27, 28.)
26          Defendant now asks the Court to terminate his lifetime term of supervised release early


     ORDER
     CR07-0107-JCC
     PAGE - 1
               Case 2:07-cr-00107-JCC Document 32 Filed 01/11/21 Page 2 of 3




 1   due to his age and history on supervision. (Dkt. No. 29 at 3.) The Probation Department and the

 2   Government object to early termination. (Dkt. No. 30 at 1.)

 3   II.    DISCUSSION

 4          The Court may terminate a term of supervised release “if it is satisfied that such action is

 5   warranted by the conduct of the defendant released and the interest of justice.” 18 U.S.C.

 6   § 3583(e)(1). In deciding whether early termination is appropriate, the Court must consider

 7   several factors, including the nature and circumstances of the offense, the history and

 8   characteristics of the defendant, the need to deter criminal conduct, the need to protect the public

 9   from further crimes, and the need to avoid disparity among similarly situated defendants. 18

10   U.S.C. § 3583(e) (citing to factors listed by 18 U.S.C. § 3553(a)); United States v. Emmett, 749

11   F.3d 817, 820 (9th Cir. 2014).

12          Taking into consideration the above factors, the Court finds that early termination is not

13   warranted in this case. Defendant’s underlying offense involved repeatedly sexually abusing his

14   stepdaughters for several years. (Dkt. No. 20 at 5–6.) Defendant also reported to a mental health

15   counselor in 1988 that he had molested a girl from 1980 to 1984 when the girl was between the

16   ages of nine and thirteen. (Dkt. No. 22 at 2.) The Court recognizes that Defendant is now 72

17   years old and has completed approximately ten years of supervised release with relatively few

18   violations. (Dkt. No. 29 at 2–3.) However, in light of the nature of the underlying offense and
19   Defendant’s history of sexually abusing minors, continued supervision is warranted to deter

20   future criminal conduct and protect the public from further crimes. Accordingly, the Court finds

21   that early termination of supervised release would not be in the interest of justice.

22   III.   CONCLUSION

23          For the foregoing reasons, Defendant’s motion for early termination of probation (Dkt.

24   No. 29) is DENIED.

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     ORDER
     CR07-0107-JCC
     PAGE - 2
              Case 2:07-cr-00107-JCC Document 32 Filed 01/11/21 Page 3 of 3




 1   DATED this 11th day of January 2019.




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                                               John C. Coughenour
 5                                             UNITED STATES DISTRICT JUDGE
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     ORDER
     CR07-0107-JCC
     PAGE - 3
